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                      EXHIBIT 9
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                                                                                                                      US007519056B2


(12) United States Patent                                                                       (10) Patent No.:                          US 7,519,056 B2
       Ishwar et al.                                                                            (45) Date of Patent:                            Apr. 14, 2009

(54) MANAGING TRAFFIC IN A MULTIPORT                                                                 6,385,197 B1          5/2002 Sugihara
        NETWORKNODE USING LOGICAL PORTS                                                              6,394.292 B1*        5/2002 Sabounjian ................. 211,202
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(73) Assignee: Alcatel-Lucent USA Inc., Murray Hill,                                                 7,428,237 B1 * 9/2008 Gaiet al. ............... 370,395.53
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                      patent is extended or adjusted under 35                                                 OTHER PUBLICATIONS
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                                                                                            (C) 2000 Riverstone Networks, Inc. Printed in the USA 5200 Great
(21) Appl. No.: 10/455,510                                                                  America Parkway, Santa Clara, CA 95054 USA408 / 878-6500 or
                                                                                            www.riverstonenet.com.
(22) Filed:           Jun. 4, 2003
                                                                                                                             (Continued)
(65)                 Prior Publication Data                                                 Primary Examiner Edan Orgad
        US 2004/OO1781.6 A1     Jan. 29, 2004                                               Assistant Examiner Venkatesh Haliyur
                  Related U.S. Application Data                                             (57)                            ABSTRACT
(60)        typnal application No. 60/385,862, filed on Jun.                                A technique for implementing VLANs across a service pro
         s                                                                                  vider network involves establishing logical ports that have
(51) Int. Cl.                                                                               bindings to transport tunnels. The logical ports are then
        H04L 2/28                        (2006.01)                                          treated the same as physical ports in defining broadcast
        G06F 5/16                        (2006.01)                                          domains at particular service provider edge devices. Logical
                                                                                            ports can be established for Layer 2 transport tunnels that use
(52) U.S. Cl. ..... 376.3725. S.                                                            stacked VLAN tunneling and MPLS tunneling. Establishing
                                     s                s         7091227. 709/243            a logical port that uses stacked VLAN tunneling involves
(58) Field of Classification Search         370f389                                         binding a physical port and a stacked VLAN tunnel to the
           37O/395.53. 235,410 386,401.22s. 709,203.                                        logical port. Establishing a logical port that uses MPLS tun
                         • al- - s       s       s        s          s 709f227, 243         neling involves binding an MPLS tunnel to a logical port. In
        S         lication file f       let      h hist     s                               one embodiment, the logical port is bound to a static MPLS
            ee appl1cauon Ille Ior complete searcn n1Story.                                 tunnel and in another embodiment, the logical port is bound to
(56)                     References Cited                                                   a dynamic MPLS tunnel and the destination IP address of the
                                                                                            destination service provider edge device.
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                                                                                                                 Service Provider
                                                                                                                 Edge Device B
                                             Service Provider            --
                                                 Edge Device A                        Stacked WLAN
                                             Pi LP600-p,                                                                       WLAN 200
                                             P
                                                                 P
                                                              x- -
                                                     LPMLPssoof



                                                                                                                 Service Provider
                                                                                                                 Edge Device C
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                               1.                                                                        2
         MANAGING TRAFFIC IN A MULTIPORT                                configured within a multiport network node (e.g., a Layer 2
        NETWORKNODE USING LOGICAL PORTS                                 switch) by associating a particular VLAN identifier (ID) with
                                                                        a set of ports. The set of ports defines the broadcast domain of
           CROSS-REFERENCE TO RELATED                                   the VLAN within the multiport network node.
                  APPLICATION
                                                                           FIG. 1A depicts an example of a network that utilizes
  This application is entitled to the benefit of provisional            VLAN technology to connect customers between two service
Patent Application Ser. No. 60/385,862, filed 4 Jun. 2002.              provider network nodes (network node A 102 and network
                                                                        node B 104). In the example of FIG. 1, the two locations of
               FIELD OF THE INVENTION                              10   customer C communicate with each other on VLAN 100 and
                                                                        the two locations of customer C communicate with each
   The invention relates generally to a technique for manag             other on VLAN 200. With regard to network node A, the
ing traffic in a multiport network node, and more particularly,         broadcast domain for VLAN 100 includes ports P, and P. and
to a technique for managing traffic in a multiport network              the broadcast domain for VLAN 200 includes ports P and P.
node that is connected to another network node by a tunnel,        15   The broadcast domains for VLANs 100 and 200 at network
for example, a stacked virtual local area network (VLAN)                node A are depicted in the VLAN table of FIG. 1B. In opera
tunnel or a multiprotocol label switching (MPLS) tunnel.                tion, a packet, which is a broadcast packet or a packet whose
                                                                        destination MAC address has not been learned, that is
           BACKGROUND OF THE INVENTION                                  received at port P of network node A from customer C on
                                                                        VLAN 100 is broadcast to all ports in the VLAN except the
  Traditional metropolitan area communications services are             port on which the packet was received. In this case, the packet
based upon technologies such as asynchronous transfer mode              is broadcast to port P. From port P., the packet is transmitted
(ATM), synchronous optical network (SONET), and Frame                   across the direct connection 106 to port P of network node B.
Relay technologies, which are optimized for Voice commu                 At port P of network node B, a similar association is made for
nications services. With the increased use of the Internet as a    25
communications medium, non-voice traffic (often referred to             a broadcast packet or a packet whose destination MAC
as data traffic) is becoming the most prevalent type of network         address has not been learned and the packet is broadcast to all
traffic. To meet the increasing demand for data-centric com             ports in the broadcast domain except the port on which the
munications services in metropolitan areas, new data-centric            packet was received. In this case, the packet is broadcast to
metropolitan area networks (MANs) are being built. These           30   port Ps, where the packet eventually reaches customer C.
new MANs often utilize Ethernet at Layer 2 of the Open                  While FIG. 1A depicts a simplified network architecture in
System Interconnection (OSI) model to connect nodes within              which the two service provider network nodes are directly
the network (where the OSI model is defined by the Interna              connected, in many cases, service provider network nodes are
tional Standardization Organization (ISO)). Ethernet is a               separated by an intermediate network. For example, FIG. 2
popular Layer 2 protocol for use in MANs because of its            35   depicts a network in which two service provideredge devices
compatibility with the installed base of end users, its compat          202 and 204 are connected by an intermediate network 206
ibility with the widely used Layer 3 Internet protocol (IP),            that may include multiple intermediate network nodes.
because of its overall flexibility, and because it is relatively        Although traversing the intermediate network may involve
cheap to deploy when compared to other Layer 2technolo                  multiple hops and many intermediate processing steps, the
g1eS.                                                              40   customers are only concerned that their traffic gets from one
   Although deploying Ethernet as the Layer 2 technology in             customer endpoint to the other. In particular, the customers
MANs has many advantages, the end-user customers that are               want it to appear that their traffic is on one seamless LAN.
targeted to utilize MANs often desire advanced network ser                 In order to provide VLAN services to customers that are
vices Such as quality of service (QoS) guarantees, permanent            connected by intermediate networks, service providers have
virtual circuits (PVCs), Virtual Leased Lines (VLLs), and          45
                                                                        employed “tunneling technologies that essentially tunnel
transparent LAN services (TLS). Many of these advanced
services can be provided by a network that utilizes a Layer             VLAN traffic through an intermediate network and deliver
2technology such as ATM, SONET, or Frame Relay. Ether                   the VLAN traffic to a remote-end service provider edge
net, on the other hand, was not originally designed to provide          device in the same form as it arrived at the near-end service
advanced services and as a result, Solutions to customer needs     50   provider edge device. FIG. 2 depicts an example transport
can be more difficult to implement in Ethernet-based net                tunnel 208 that exists between port P. of service provider
works.                                                                  edge device A and port P of service provider edge device B.
   One Ethernet technology that is presently utilized in                Because port P is connected to an intermediate network, the
MANs to provide advanced services to customers is VLAN                  port may also Support multiple additional transport tunnels
technology. A VLAN is a group of network devices on dif            55   210 that connect to other service provider edge devices or to
ferent physical LAN segments that communicate with each                 the same service provider edge device.
other as if they were on the same physical LAN segment. The                While establishing broadcast domains to connect remote
goal of VLAN technology is to make two network devices                  customers is fairly straight forward when service provider
appear as if they are on the same logical LAN even though               network nodes are directly connected, the task becomes more
they are on different physical LANS.                               60   difficult when service provider edge devices are connected
   From the perspective of a particular network switch, a               through an intermediate network using tunneling technolo
VLAN is a broadcast domain. The broadcast domain can be                 gies. In particular, the mere assigning of ports to a VLAN does
used for packets, belonging to the VLAN, which are broad                not ensure that the traffic will be sent in the correct “tunnel to
cast packets or packets whose destination MAC address has               the desired remote-end service provider edge device. The
not been learned. A packet that is broadcast within a broadcast    65   difficulty of the task is further increased as the number of
domain is sent to all ports in the broadcast domain except the          different customers, service provider nodes, VLANs, and
port on which the packet was received. Typically, VLANs are             tunnels grows.
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     In view of the desire for VLAN-based services, what is                  FIG. 6A depicts the logical relationship between logical
needed is a technique that enables flexible deployment of                 port LPs.goo, logical port LPs.go, logical port LPs.goo, and
VLANs across service provider networks that employ tunnel                 SPEDs A through D in accordance with an embodiment of the
ing techniques.                                                           invention.
                                                                            FIG. 6B depicts the broadcast domains for VLANs 100 and
             SUMMARY OF THE INVENTION                                     200 at SPED A using logical ports in accordance with an
                                                                          embodiment of the invention.
   A technique for implementing VLANs across a service                      FIG. 7 depicts an example packet that is used for Layer 2
provider network involves establishing logical ports that have            MPLS tunneling.
bindings to transport tunnels. The logical ports are then            10     FIG. 8 depicts a network in which customer locations are
treated the same as physical ports in defining broadcast                  connected via two SPEDs and an intermediate network by an
domains and forwarding traffic at particular service provider             MPLS tunnel that exists between SPEDSA and B.
edge devices. Because the logical ports have bindings to                     FIG. 9A depicts the logical relationship between logical
transport tunnels, adding a particular logical port to a broad            port LP'sso, SPEDA, and SPED B in accordance with an
cast domain causes traffic from the respective VLAN to auto          15   embodiment of the invention.
matically be forwarded in the transport tunnel that is bound to             FIG.9B depicts the broadcast domains for VLANs 100 and
the logical port. Logical ports enable a VLAN that spans an               200 at SPED A using logical ports in accordance with an
intermediate network to be established simply by adding the               embodiment of the invention.
respective logical port to the broadcast domain of the VLAN.                FIG. 10 depicts an example of a dynamic MPLS tunnel that
   Logical ports can be established for the transport of Layer            connects physical port P. of SPED A to physical port P. of
                                                                          SPED B.
2 packets using stacked VLAN tunneling and MPLS tunnel                       FIG. 11A depicts the logical relationship between logical
ing. Establishing a logical port that uses stacked VLAN tun
neling involves binding a physical port and a stacked VLAN                port LP's sooo SPEDA, and SPED B in accordance with
                                                                          an embodiment of the invention.
tunnel to the logical port. Traffic that is forwarded to a stacked
VLAN logical port is sent out of the service provider edge           25     FIG. 11B depicts the broadcast domains for VLANs 100
device from the physical port that is bound to the logical port           and 200 at SPEDA using logical ports in accordance with an
                                                                          embodiment of the invention.
and in the stacked VLAN tunnel that is bound to the logical                  FIG. 12A depicts the logical relationship between logical
port. Establishing a logical port that uses MPLS tunneling
involves binding an MPLS tunnel to a logical port. In one                 port LPs.goo, logical port LPs sooo, and SPEDSA through
                                                                     30   C in accordance with an embodiment of the invention.
embodiment, the logical port is bound to a static MPLS tunnel
and in another embodiment, the logical port is bound to a                   FIG. 12B depicts the broadcast domains for VLANs 100
dynamic MPLS tunnel and the destination IP address of the                 and 200 at SPEDA using logical ports in accordance with an
                                                                          embodiment of the invention.
destination service provider edge device. Traffic that is for               FIG. 13 depicts a process flow diagram of a method for
warded to an MPLS logical port is sent out of the service
provider edge device using the MPLS tunnel that is bound to          35   managing VLAN traffic in a network node in accordance with
the logical port.                                                         an embodiment of the invention.
   Other aspects and advantages of the present invention will                FIG. 14 depicts a process flow diagram of another method
become apparent from the following detailed description,                  for managing VLAN traffic in a network node in accordance
                                                                          with an embodiment of the invention.
taken in conjunction with the accompanying drawings, illus           40     FIG. 15 depicts an embodiment of a network node in which
trating by way of example the principles of the invention.                an embodiment of the invention can be implemented.
        BREIF DESCRIPTION OF THE DRAWINGS
                                                                            FIG. 16 illustrates a functional depiction of logical port
                                                                          engines that exist at a control module and a line card of a
                                                                          network node.
  FIG. 1A depicts an example of a network that utilizes              45     Throughout the description, similar reference numbers
VLAN technology to connect two locations of customer C                    may be used to identify similar elements.
on VLAN 100 and two locations of customer C. on VLAN
2OO.                                                                         DETAILED DESCRIPTION OF THE INVENTION
     FIG. 1B depicts the broadcast domains for VLANs 100 and
200 at network node A.                                               50      FIG. 3 depicts a network in which customer locations are
   FIG. 2 depicts a network in which two service provider                 connected via two service provideredge devices 302 and 304
edge devices are connected by an intermediate network that                and an intermediate network 306. In the example, customer
may include multiple intermediate network nodes.                          C is connected to service provider edge device (SPED) A at
   FIG. 3 depicts a network in which customer locations are               port P and to SPED B at port P. Customer C wants to
connected via two service provider edge devices and an inter         55   communicate between its two locations using VLAN 100.
mediate network by a stacked VLAN tunnel that exists                      Customer C is connected to SPEDA at port P. and to SPED
between service provider edge devices (SPEDs) A and B.                    Bat port P. Customer C wants to communicate between its
   FIG. 4A depicts the logical relationship between logical               two locations using VLAN 200. In the example of FIG. 3, the
                                                                          intermediate network supports "stacked VLAN tunneling
port LP, SPEDA, and SPED B in accordance with an                     60   and is referred to as a 'stacked VLAN domain.” In an embodi
embodiment of the invention.
                                                                          ment, stacked VLAN tunneling involves encapsulating a first
  FIG. 4B depicts the broadcast domains for VLANs 100 and                 packet that is formatted according to the IEEE 802.1Q pro
200 at SPED A using logical ports in accordance with an                   tocol (referred to herein as an “802.1Q packet’) into a second
embodiment of the invention.                                              802.1Q packet. The header of the second 802.1Q packet (i.e.,
  FIG. 5 depicts an example network in which stacked                 65   the outer packet header) is used to forward the packet through
VLAN tunnels connect port P. of SPEDA to SPEDs B, C, and                  the stacked VLAN domain and is removed at the far-end
D.                                                                        SPED. Removing the header of the second 802.1Q packet at
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the far-end SPED leaves the first 802.1Q packet (i.e., the               to implement VLANs and forwarding traffic. The logical port
original 802.1Q packet). The first 802.1Q packet is then                 can also be treated the same as a physical port for other
handled at the far-end SPED like other VLAN packets and is               operations, such as filtering, spanning tree protocol (STP),
forwarded to all ports in the respective broadcast domain.               and link aggregation groups (LAGs).
   FIG.3 also depicts a stacked VLAN tunnel 308 that exists                 In an example operation, a packet is received from cus
between SPEDSA and B. The Stacked VLAN tunnel is iden
tified with a VLAN ID of 600. In the example of FIG. 3,                  tomer C at port P. of SPED A 402. The received packet is
packets that use stacked VLAN tunnel 600 to travel between               identified as belonging to VLAN 100 and the broadcast
SPEDs A and B are encapsulated with an 802.1Q header                     domain for VLAN 100 is identified. As depicted in FIG. 4B,
having a VLAN ID of 600.                                            10   the broadcast domain for VLAN 100 includes ports P and
   Using conventional VLAN techniques, the broadcast                     LPoo. In the case of a broadcast packet or a packet whose
domain for VLAN 100 at SPED A can be configured by                       destination MAC address has not been learned, the packet is
adding physical ports P and P to the broadcast domain.                   broadcast to all ports in the broadcast domain except the port
Traffic arriving at SPED A on VLAN 100 is forwarded to at                on which the packet was received and since the packet is
least one of the ports in the broadcast domain (except the port     15   received on port P, the packet is broadcast to port LP.
on which the traffic arrived) depending on whether the traffic           After the destination MAC address has been learned, the
is broadcast traffic, traffic for which the destination MAC              packet can be forwarded using the logical port. The packet is
address has not yet been learned, or learned traffic. A problem          forwarded out of SPEDA using logical port LPoo. In an
with this approach is that simply forwarding VLAN 100                    embodiment, using logical port LPoo to forward the packet
traffic to physical port P. does not ensure that the VLAN 100            out of the SPED involves searching an exit port table for a
traffic will be sent out in the target stacked VLAN tunnel (e.g.,        match to the logical port. The result of the exit port table
stacked VLAN tunnel 600). In order for the VLAN 100 traffic              lookup is the physical port to which the packet should be
                                                                         forwarded and the VLAN ID for the Stacked VLAN tunnel in
to be sent out on the target stacked VLAN tunnel, there must             which the packet is to be forwarded.
be some relationship configured between VLAN 100, physi
cal port P., and the target stacked VLAN tunnel.                    25     Multiple stacked VLAN tunnels often emanate from the
  In accordance with an embodiment of the invention, a                   same port of a SPED in order to connect the SPED to multiple
logical port is created at SPED A that includes a binding to a           other SPEDs through an intermediate network. FIG.5 depicts
physical port and to a target stacked VLAN tunnel. The logi              an example network in which stacked VLAN tunnels connect
cal port can then be used in defining the broadcast domain of            port P. of SPED A502 to SPEDs B, C, and D504,514, and
a VLAN and forwarding traffic. In the embodiment of FIG.3,          30   516, respectively. In the example, stacked VLAN tunnel 600
a logical port is created by binding physical port P. and                connects SPED A to SPED B, stacked VLAN tunnel 610
stacked VLAN tunnel 600 to the logical port. In the example,             connects SPEDA to SPED C, and stacked VLAN tunnel 620
the logical port is identified by the notation “LP,” where               connects SPED A to SPED D. Also in the example, one
the first subscript number 3 identifies the physical port to             customer C location is connected to port P. of SPED C and
which the logical port is bound and where the second sub            35   another customer C location is connected to port Po of
script number 600 represents the stacked VLAN tunnel to                  SPED D. Additionally, a customer C. location is connected to
which the logical port is bound.                                         port P of SPED D. In order to create broadcast domains
   In an embodiment, the process of binding a physical port              between the various SPEDs using logical ports as described
and a stacked VLAN tunnel to a logical port involves allocat             above, separate logical ports can be established that connect
ing a table entry in an exit port table for the logical port. The   40   SPED A to SPEDs B, C, and D, respectively. In an embodi
table entry maps the logical port to the physical port of exit           ment, one logical port is established for each connection by
and to the VLAN ID of the outer IEEE 802.1Q header.                      binding the logical port to the corresponding physical port
   FIG. 4A depicts the logical relationship between logical              and to the respective stacked VLAN tunnel. For example,
port LP, SPED A 402, and SPED B 404. In particular,                      logical port LP is bound to physical port P. and stacked
FIG. 4A depicts that logical port LPoo connects SPEDA to            45   VLAN tunnel 600 as described above, logical port LP is
port P of SPED B via logical path 412. With logical port                 bound to physical port P. and stacked VLAN tunnel 610, and
LPoo established, a broadcast domain that connects SPED                  logical port LP is bound to physical port P. and Stacked
A and SPED B can be created by adding logical port LPoo                  VLAN tunnel 620.
to the desired VLAN. For example, VLAN 100 at SPED Acan                     FIG. 6A depicts the logical relationship between logical
be connected to SPEDB by defining the broadcast domain for          50   port LPs.goo, logical port LPs.go, logical port LPs. 620, and
VLAN 100 at SPED A as including ports P and LP,                          SPEDs A through D. In particular, FIG. 6A depicts that logi
where port P is a physical port and port LPoo is a logical               cal port LPoo connects SPEDA to SPED B via logical path
port. Likewise, VLAN 200 at SPED A can be connected to                   612, logical port LP connects SPED A to SPED C via
SPED B by defining the broadcast domain for VLAN 200 at                  logical path 660, and logical port LP connects SPEDA to
SPEDA as including ports P and LPoo, where port P is a              55   SPED D via logical path 662. With the three logical ports
physical port and port LPoo is a logical port. The broadcast             established, a broadcast domain at SPED A for VLAN 100
domains for VLANs 100 and 200 at SPEDA are depicted in                   can be created by simply adding physical port P and logical
the VLAN table of FIG. 4B. Because the logical port LPoo                 ports LPoo, LPo, and LP to VLAN 100. The broad
includes an inherent connection to the stacked VLAN tunnel               cast domain will enable VLAN 100 traffic at SPED A to
that connects SPEDA and SPED B, configuring a VLAN that             60   connect to SPEDs B, C, and D. Likewise, abroadcast domain
spans SPEDSA and B can be accomplished simply by adding                  at SPED A for VLAN 200 can be created by simply adding
logical port LPoo to the VLAN. In addition, any new                      physical ports P2 and logical ports LPs.goo, and LPso to
VLANs that need to span SPEDA and SPEDB can be created                   VLAN 200. The broadcast domain for VLAN 200 does not
at SPED A by simply adding logical port LPoo to the                      include logical port LPso because in the example of FIG.
respective broadcast domain. In Sum, because of the logical         65   6A customer C does not have a location connected to SPED
port's binding to the physical port and to the stacked VLAN              C. The broadcast domains for VLANs 100 and 200 at SPED
tunnel, the logical port can be used just like any physical port         A are depicted in the VLAN table of FIG. 6B. Packets are
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                         7                                                                             8
forwarded through the SPED using the logical ports as                   VLAN 100 is forwarded to at least one of the ports in the
described above with reference to FIGS. 4A and 4.B.                     broadcast domain (except the port on which the traffic
  Another technique that is used to tunnel traffic through an           arrived) depending on whether the traffic is broadcast traffic,
intermediate network involves the use of multiprotocol label            traffic for which the destination MAC address has not yet
switching (MPLS). Using MPLS, incoming packets are                      been learned, or learned traffic. A problem with this approach
assigned a “label by a “label edge router.” Packets are for             is that simply forwarding VLAN 100 traffic to physical port
warded along a “label switch path’ (LSP) through a series of            P, does not ensure that the VLAN 100 traffic will be sent out
connected "label switch routers. Each label switch router               in the target MPLS tunnel (e.g., using LSP 650). In order for
makes forwarding decisions based on the contents of the                 the VLAN 100 traffic to be sent out on the target MPLS
label. At each hop, the label switch routers strip off the exist   10   tunnel, there must be some relationship configured between
ing label and apply a new label that tells the next hop how to          VLAN 100 and the target MPLS tunnel.
forward the packet. LSPs are provisioned using Resource                   In accordance with an embodiment of the invention, a
Reservation protocol (RSVP) and Label Distribution proto                logical port is created which includes a binding to the target
col (LDP). LSPs can be established by network operators for             MPLS tunnel. The logical port can then be used in defining
a variety of purposes, such as to guarantee a certain level of     15   the broadcast domain of a VLAN. In the example of FIG. 8, a
performance, to route around network congestion, or to create           logical port is created by binding the logical port to static
tunnels for virtual private networks. MPLS can be used to               MPLS tunnel 650. The example logical port is identified as
create end-to-end circuits, with specific performance charac            “LPasso. In an embodiment, the binding process
teristics, across any type of transport medium.                         involves specifying the logical port's name and indicating the
   In an embodiment of MPLS tunneling, a customer's traffic             tunnel label that is to be appended to the tunneled packet. In
(e.g., an Ethernet packet) is switched or routed to a SPED,             an embodiment, the process of binding an MPLS tunnel to a
which serves the function of an MPLS labeledge router. The              logical port involves allocating a table entry in an exit port
SPED determines the VLAN to which the packet belongs,                   table to the logical port. The table entry maps the logical port
either by looking at the 802.1Q header or by determining the            to the MPLS tunnel. A subsequent MPLS tunnel lookup maps
VLAN associated with the incoming port. The Ethernet               25   the MPLS tunnel to a physical port and an LSP. In this
packet is then mapped to a user-defined Forwarding Equiva               example, the logical port's name identifies the static MPLS
lence Class (FEC), which defines how the packet gets for                tunnel that is used to tunnel the packet. Creating the logical
warded. An FEC lookup yields the outgoing physical port and             port may also include binding the logical port to a VCID. The
two MPLS labels. The first MPLS label is placed at the top of           VCID is used for the VC label during MPLS tunneling. In an
the label stack and is referred to as the “tunnel label.” The      30   embodiment, the VC label is allocated from the range of
tunnel label is used to carry the frame across the intermediate         4,096-65,535, both numbers inclusive. The VC label is the
network. The second label is placed at the bottom of the label          label on which the far-end SPED (which acts as the egress
Stack and is referred to as the “VC label. The VC label is used         label edge router) will receive the packet. The VC label may
by the egress label edge router (i.e., the SPED at which the            also be referred to as the “receive label.” The VC label may be
packet exits the MPLS domain) to determine how to process          35   used by the far-end SPED to identify the VLAN to which a
the packet. After adding two MPLS headers (one for each                 packet belongs and to make further forwarding decisions. The
MPLS label), the packet is encapsulated into the format that            above-identified range of values for the VC label is selected so
corresponds to the outgoing interface. FIG. 7 depicts an                that hardware can be programmed to easily distinguish
example packet that is used for Layer 2 MPLS tunneling                  between stacked VLAN tunnels and MPLS tunnels.
through an Ethernet-based intermediate network. The packet         40      FIG. 9A depicts the logical relationship between logical
includes an original Ethernet packet 724, an MPLS label                 port LPs, so SPED A902, and SPED B904. In particular,
stack 726 (including the tunnel and VC labels), and an outer            FIG. 9A depicts that logical port LPsoconnects SPED
packet header 728 (e.g., an Ethernet header). A description of          A with port P. of SPED B via logical path912. With logical
a type of Layer 2 MPLS tunneling is found in the Internet               port LPs so established, a broadcast domain that con
Engineering Task Force (IETF) documents draft-martini              45   nects customer C at SPED A with SPED B can be created by
12circuit-trans-mplS-09 and draft-martini-12circuit-encap               adding physical port P and logical port LPs so to the
mpls-04, which are incorporated by reference herein.                    broadcast domain for VLAN 100. Likewise, a broadcast
   FIG. 8 depicts a network in which customer locations are             domain that connects customer C at SPED A with SPED B
connected via two SPEDs 802 and 804 and an intermediate                 can be created by adding physical port P. and LPs so to
network 806. The network of FIG. 8 is similar to the network       50   the broadcast domain for VLAN 200. The broadcast domains
of FIG. 3 except that the intermediate network supports                 for VLANs 100 and 200 at service provideredge device Aare
MPLS tunneling and is referred to as an “MPLS domain.” In               depicted in the VLAN table of FIG.9B.
the example of FIG.8, an MPLS tunnel 808 is implemented at                 In an example operation, a packet is received from cus
Layer 2 using a static LSP that connects physical port P. of            tomer C at port P. of SPED A902. The received packet is
SPED A to physical port P of SPED B. Tunneling using a             55   identified as belonging to VLAN 100 and the broadcast
static LSP involves specifying the particular LSP that is to be         domain for VLAN 100 is identified. As depicted in FIG.9B,
used to connect the two SPEDs. In an embodiment, a static               the broadcast domain for VLAN 100 includes ports P and
LSP is specified by indicating the tunnel label that is to be           LPasso. In the case of a broadcast packet or a packet
appended to the tunneled packet. For description purposes,              whose destination MAC has not yet been learned, the packet
the static LSP is identified as “LSP 650, which indicates that     60   is broadcast to all ports in the broadcast domain except the
tunnel label 650 is to be appended to the tunneled packet. The          port on which the packet was received and since the packet is
static LSP is a uni-directional entity that runs from SPEDA to          received on port P, the packet is broadcast to port
SPED B.                                                                 LPss. The packet is forwarded out of the SPED using
   As with the stacked VLAN embodiment, using conven                    logical port LPs so. After the destination MAC address
tional VLAN techniques, a broadcast domain for VLAN 100            65   has been learned, the packet can be forwarded using the
at SPEDA can be configured by adding physical ports P and               logical port. In an embodiment, using logical port LPasso
Ps to the broadcast domain. Traffic arriving at SPED A on               to forward the packet out of the SPED involves searching an
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                                                                                                        10
exit port table for a match to the logical port. The result of the        port LPs sooo to forward the packet out of the SPED
exit port table lookup is the MPLS tunnel in which the packet             involves searching an exit port table for a match to the logical
should be forwarded. In this case, the packet is forwarded on             port. The result of the exit port table lookup is the MPLS
LSP 650. The packet is forwarded, as described above, with                tunnel in which the packet should be forwarded. In this case,
two MPLS labels. The outer MPLS label being the tunnel               5    the MPLS tunnel (e.g., tunnel 700) is further used to identify
label and the inner label being the VC label.                             the particular LSP on which the packet is forwarded. The
   MPLS tunneling can also be implemented using dynamic                   packet is forwarded, as described above with reference to
MPLS tunnels. Dynamic MPLS tunnels are MPLS tunnels                       FIG. 8, with two MPLS labels. The outer MPLS label being
that do not specify a particular LSP that must be used to reach           the tunnel label, which is used to forward the packet through
the target destination. Using a dynamic MPLS tunnel, the             10   the MPLS domain, and the inner label being the VC label,
particular LSP that is utilized may change from time to time              which is used by the far-end SPED (which acts as the egress
in response to factors such as traffic load and latency. FIG. 10          label edge router) to determine how to forward the packet.
depicts an example of a dynamic MPLS tunnel 1008 (identi                    In FIGS. 3-11B, the broadcast domains are described as
fied as MPLS tunnel 700) that connects physical port P. of                including either a logical port that is bound to a stacked
SPEDA 1002 to physical port P. of SPED B 1004.                       15   VLAN tunnel or a logical port that is bound to an MPLS
  In accordance with an embodiment of the invention, a                    tunnel. However, it is possible that the same broadcast
logical port is created which includes a binding to the target            domain could include a logical port that is bound to a stacked
MPLS tunnel and to the target destination. The logical port               VLAN tunnel and a logical port that is bound to an MPLS
can then be used in defining the broadcast domain of a VLAN.              tunnel. FIG. 12A depicts an example of a network where
In the example of FIG. 10, a logical port, identified as                  SPEDA 1202 is connected to SPED B 1204 by a stacked
“LPs soo”, is bound to MPLS tunnel 700 and to the                         VLAN domain 1206 and to SPED C 1205 by an MPLS
destination IP address of SPED B. The subscript number                    domain 1207. In particular, port P. of SPEDA is connected to
 5000 is a number that is selected by SPEDA to identify the               port P. of SPED B via the stacked VLAN domain and port P.
logical port. In an embodiment, the binding process involves              of SPEDA is connected to port P. of SPED C via the MPLS
specifying the MPLS tunnel and the destination IP address of         25   domain. At SPEDA, two logical ports have been created. The
the destination SPED (which also acts as the egress labeledge             first logical port, LPoo is bound to physical port P. and
router). In operation, the MPLS tunnel ID is used to identify             stacked VLAN tunnel 600 (not shown). The logical port is
the actual LSP on which a packet travels. Likewise, the LSP               similar to the logical port that is described above with refer
on which the packet travels may be mapped to a physical port              ence to FIGS. 3-4B. The second logical port, LPs sooo is
of the SPED (which acts as the ingress labeledge router). The        30   bound to an MPLS tunnel (not shown). The logical port is
actual LSP that corresponds to the MPLS tunnel is dynami                  similar to the logical port that is described above with refer
cally determined by an LDP. In an embodiment, the logical                 ence to FIGS. 10-11B. The logical ports can be used in defin
port includes a binding to the VC ID that is to be used for the           ing the broadcast domain of a VLAN in the same manner that
VC label. The VC label may be allocated from the range of                 is described above. FIG. 12A depicts the logical relationship
4,096-65,535, both numbers inclusive. This is the label on           35   between logical port LPs.goo, logical port LPerssooo, and
which the far-end SPED (which acts as the egress label edge               SPEDs A through C. In particular, FIG. 12A depicts that
router) will receive the packet. This label may also be referred          logical port LPoo connects SPEDA with port P.s of SPEDB
to as the “receive label. The above-identified range of values            Via logical path 1212 and that logical port LPs sooo con
for the VC label is selected so that hardware can be pro                  nects SPEDA with port P. of SPED C via logical path 1213.
grammed to easily distinguish between stacked VLAN tun               40   At SPEDA, a broadcast domain that connects to customer C
nels and MPLS tunnels.                                                    locations at SPEDs B and C can be created simply by adding
   FIG. 11A depicts the logical relationship between logical              physical port P. logical port LPoo, and logical port
port LP's sooo SPEDA 1102, and SPED B 1104. In par                        LPs sooo to the broadcast domain for VLAN 100. Like
ticular, FIG. 11A depicts that logical port LPassooo con                  wise, a broadcast domain that connects customer C locations
nects SPEDA with port P. of SPED B via logical path 1112.            45   at SPEDs B and C can be created simply by adding physical
With logical port LPs sooo established, a broadcast                       port P2, logical port LPs.goo, and logical port LPters sooo to
domain that connects customer C at SPED A with SPED B                     the broadcast domain for VLAN 200. The broadcast domains
can be created by adding physical port P and logical port                 for VLANs 100 and 200 at SPEDA are depicted in the VLAN
LPs sooo to the broadcast domain for VLAN 100. Like                       table of FIG. 12B.
wise, a broadcast domain that connects customer C at SPED            50     Although the stacked VLAN and MPLS domains are
A with SPED B can be created by adding physical port P. and               depicted as separate networks, the stacked VLAN and MPLS
LPs sooo to the broadcast domain for VLAN 200. The                        domains may be implemented totally, or partially, on com
broadcast domains for VLANs 100 and 200 at service pro                    mon network devices.
vider edge device A are depicted in the VLAN table of FIG.                   Although stacked VLAN tunnels and MPLS tunnels have
11B.                                                                 55   been described, other transport tunnels could be bound to a
   In an example operation, a packet is received from cus                 logical port. Additionally, although the VLAN process is
tomer C at port P of SPEDA 1102. The received packet is                   described in a single direction, the same processes could be
identified as belonging to VLAN 100 and the broadcast                     implemented at the far-end SPEDs to achieve bidirectional
domain for VLAN 100 is identified. As depicted in FIG. 11B,               functionality.
the broadcast domain for VLAN 100 includes ports P and               60      FIG. 13 depicts a process flow diagram of a method for
LPs sooo. In the case of a broadcast packet or a packet                   managing VLAN traffic in a network node. According to the
whose destination MAC address has not been learned, the                   method, at step 1302, a logical port is established within a
packet is broadcast to all ports in the broadcast domain except           network node that includes a binding to a tunnel. In an
the port on which the packet was received and since the packet            embodiment, establishing the logical port includes binding
is received on port P, the packet is broadcast to port               65   the logical port to a physical port of the network node and a
LPs sooo. The packet is forwarded out of SPEDA using                      stacked VLAN tunnel. In another embodiment, establishing
logical port LPreissooo. In an embodiment, using logical                  the logical port includes binding the logical port to an MPLS
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tunnel. At step, 1304, the logical port is associated with a             mands, providing timing control, programming hardware
VLAN. At step 1306, traffic that is associated with the VLAN             tables, providing system information, Supporting a user inter
is received at the network node. At step 1308, the traffic is            face, managing hardware changes, bus management, manag
forwarded out of the network node using the logical port.                ing logical ports, managing VLANs, and protocol processing.
   FIG. 14 depicts a process flow diagram of another method              Example protocols that are implemented by the control mod
for managing VLAN traffic in a network node. According to                ules include Layer 2 (L2) protocols, such as L2 Learning,
the method, at step 1402, a logical port is established within a         STP and LACP and Layer 3 (L3) protocols such as OSPF,
network node that includes a binding to a second network                 BGP and ISIS. The layers are defined by the ISO in the OSI
node via a tunnel. At Step 1404, the logical port is associated          model.
with a VLAN. At step 1406, traffic that is related to the VLAN      10     Each of the control modules 1506 and 1508 includes a
is received at the network node. At step 1408, the logical port          processor 1522 and memory 1524 for carrying out the desig
is identified from the logical port and VLAN association is              nated functions. The processor within each control module
response to receiving the traffic. At step 1410, the logical port        may include a multifunction microprocessor and/or an appli
is used to identify the tunnel. At step 1412, the traffic is             cation specific processor that is operationally connected to
forwarded to the second network node using the tunnel.              15   the memory. The memory may include EEPROM or flash
   FIG. 15 depicts an embodiment of a network node 100 in                ROM for storing operational code and DRAM for buffering
which an embodiment of the invention can be implemented.                 traffic and storing data structures, such as logical port infor
The example network node, which can be implemented as a                  mation and VLAN tables. Although the processor and
service provider edge device, includes a primary control                 memory are depicted as separate functional units, in some
module 1506, a secondary control module 1508, a switch                   instances, the processor and memory are integrated onto the
fabric 1504, and three line cards 1502A, 1502B, and 1502C                same device. In addition, there may be more than one discrete
(line cards A, B, and C). The network node handles traffic in            processor unit and more than one memory unit on the control
discrete units, often referred to as datagrams. In an embodi             modules. Throughout the description, similar reference num
ment, the network node is an Ethernet switch/router that                 bers may be used to identify similar elements.
forwards traffic within the network node using Layer 2, Layer       25      In an embodiment, the logical port functionality that is
3, and/or Layer 4 header information. The network node may               described above with reference to FIGS. 3-14 is implemented
include line cards that Support network protocols such as                with the Support of logical port engines that exist at the
Ethernet, ATM, and Frame Relay. Although an Ethernet                     control modules and the line cards. FIG. 16 illustrates a func
based switch/router is described, the disclosed logical port             tional depiction of logical port engines 1652 and 1654 that
techniques can be applied to any network node that imple            30   exist at a control module 1606 and a line card 1602 of a
ments tunnels.                                                           network node. The logical port engines may be embodied in
   Each of the line cards includes at least one port 1516, a             a combination of software and hardware.
processor 1518, and memory 1520, which perform functions                   Although some of the broadcast domains are described as
Such as receiving traffic into the network node, buffering               including only two ports (physical and or logical ports), it
traffic, making forwarding decisions, and transmitting traffic      35   should be understood that the broadcast domains could
from the network node. The processor within each line card               include more than two ports.
may include a multifunction processor and/or an application                Although specific embodiments of the invention have been
specific processor that is operationally connected to the                described and illustrated, the invention is not to be limited to
memory. The processor performs functions such as packet                  the specific forms or arrangements of parts as described and
parsing, packet classification, and making forwarding deci          40   illustrated herein. The invention is limited only by the claims.
sions. The memory within each line card may include circuits               What is claimed is:
for storing operational code, for buffering traffic, for storing           1. A method for managing virtual local area network
logical port information, and for storing other data structures.         (VLAN) traffic in a network node comprising:
Operational code is typically stored in non-volatile memory                establishing a logical port within a network node that
Such as electrically erasable programmable read-only                45        includes a binding to a tunnel;
memory (EEPROM) or flash ROM while traffic and data                        associating said logical port with a VLAN:
structures are typically stored in Volatile memory Such as                 receiving traffic at said network node that is associated with
random access memory (RAM). Example data structures that                      said VLAN:
are stored in the RAM include traffic forwarding information                forwarding said traffic out of said network node using said
(i.e., exit port tables). Forwarding information may also be        50         logical port;
stored in content addressable memory (CAM) or a combina                     wherein establishing said logical port includes binding said
tion of CAM and RAM. Although the processor and memory                         logical port to a dynamic multi-protocol label Switched
are depicted as separate functional units, in some instances,                  (MPLS) tunnel and a destination IP address and wherein
the processor and memory are integrated onto the same                          the dynamic MPLS tunnel is an MPLS tunnel that does
device. In addition, there may be more than one discrete            55         not specify a particular label switch path (LSP) that is to
processor unit and more than one memory unit on the line                       be used to reach a target destination and wherein the LSP
cards.                                                                         that corresponds to the MPLS tunnel is dynamically
   The switch fabric 1504 provides datapaths between input                     determined by a label distribution protocol (LDP); and
ports and output ports and may include, for example, shared                 wherein said logical port includes a binding to a virtual
memory, shared bus, and crosspoint matrices. Although not           60         circuit (VC) identifier (ID) that is to be used for a VC
depicted, the network node 1500 may be equipped with                           label in a layer 2 MPLS label stack.
redundant switch fabrics.                                                   2. The method of claim 1 wherein forwarding said traffic
   The primary and secondary control modules 1506 and                    out of said network node using said logical port includes
1508 Support various functions, such as network management               transmitting said traffic in said tunnel that is bound to said
functions and protocol implementation functions. Example            65   logical port.
network management functions that are performed by the                     3. The method of claim 1 wherein said VLAN is associated
control modules include implementing configuration com                   with a broadcast domain that includes said logical port.
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  4. The method of claim 1 wherein establishing said logical               17. The system of claim 10 wherein said means for for
port includes binding said logical port to a physical port and          warding said traffic out said logical port includes means for
a stacked VLAN tunnel.                                                  transmitting said traffic in said MPLS tunnel.
  5. The method of claim 4 wherein forwarding said traffic                 18. A method for managing virtual local area network
out said network node using said logical port includes trans       5    (VLAN) traffic in a network node comprising:
mitting said traffic out said physical port in said stacked                establishing a logical port within a network node that
VLAN tunnel.                                                                  includes a binding to a second network node via a tunnel;
   6. The method of claim 5 wherein binding said logical port              associating said logical port with a VLAN:
to said stacked VLAN tunnel includes identifying a VLAN ID                 receiving traffic at said network node that is related to said
that is to be added to outgoing packets.                           10        VLAN:
   7. The method of claim 6 wherein transmitting said traffic             in response to receiving said traffic, identifying said logical
out said physical port in said stacked VLAN tunnel includes                  port from said logical port and VLAN association;
encapsulating said traffic with a header that includes said               using said logical port to identify said tunnel;
VLAN ID.                                                                  forwarding said traffic to said second network node using
  8. The method of claim 7 wherein said VLAN ID and said           15        said tunnel;
header that includes said VLAN ID conform to the IEEE                      wherein establishing said logical port includes binding said
802.1Q standard.                                                              logical port to a dynamic multi-protocol label Switched
  9. The method of claim 1 wherein said MPLS tunnel is                        (MPLS) tunnel and a destination IP address and wherein
associated with a label switch path.                                          the dynamic MPLS tunnel is an MPLS tunnel that does
   10. A system for managing virtual local area network                       not specify a particular label switch path (LSP) that is to
(VLAN) traffic in a network node comprising:                                  be used to reach a target destination and wherein the LSP
  means forestablishing a logical port within a network node                  that corresponds to the MPLS tunnel is dynamically
     that includes a binding to a tunnel;                                     determined by a label distribution protocol (LDP); and
  means for associating said logical port with a VLAN,                     wherein said logical port includes a binding to a virtual
                                                                   25         circuit (VC) identifier (ID) that is to be used for a VC
  means for forwarding VLAN traffic out of said network                       label in a layer 2 MPLS label stack.
     node using said logical port;                                         19. The method of claim 18 wherein establishing said
     wherein said means for establishing said logical port              logical port includes binding said logical port to a physical
        includes means for binding said logical port to a               port and a stacked VLAN tunnel.
        dynamic multi-protocol label switched (MPLS) tun           30      20. The method of claim 19 whereinforwarding said traffic
          nel and a destination IP address and wherein the              using said tunnel includes forwarding said traffic out said
        dynamic MPLS tunnel is an MPLS tunnel that does                 physical port in said stacked VLAN tunnel.
        not specify a particular label switch path (LSP) that is           21. A method for managing traffic in a network node that
        to be used to reachatarget destination and wherein the          includes multiple physical ports comprising:
        LSP that corresponds to the MPLS tunnel is dynami          35      establishing a logical port within a network node that
        cally determined by a label distribution protocol                     includes a binding to a tunnel;
        (LDP); and                                                         treating the logical port the same as the physical ports of the
     wherein said logical Dort includes a binding to a virtual                network node in the forwarding of traffic through the
        circuit (VC) identifier (ID) that is to be used for a VC             network node,
        label in a layer 2 MPLS label stack.                       40     wherein establishing said logical port includes binding said
   11. The system of claim 10 wherein said means for for                    logical port to a multi-protocol label switched (MPLS)
warding said traffic out of said network node using said logi                tunnel and a destination IP address and wherein the
cal port includes means for transmitting said traffic in said               dynamic MPLS tunnel is an MPLS tunnel that does not
tunnel.                                                                     specify a particular label switch path (LSP) that is to be
   12. The system of claim 10 wherein said means for estab         45       used to reach a target destination and wherein the LSP
lishing said logical port includes means for binding said logi              that corresponds to the MPLS tunnel is dynamically
cal port to a physical port and a stacked VLAN tunnel.                      determined by a label distribution protocol (LDP); and
   13. The system of claim 12 wherein said means for for                  wherein said logical port includes a binding to a virtual
warding said traffic out said network node using said logical               circuit (VC) identifier (ID) that is to be used for a VC
port includes means for transmitting said traffic out said         50       label in a layer 2 MPLS label stack.
physical port in said stacked VLAN tunnel.                                22. The method of claim 1 wherein said VCID is allocated
   14. The system of claim 13 wherein said means for binding            from a range of 4,096-65.535, both numbers inclusive.
said logical port to said stacked VLAN tunnel includes iden               23. The method of claim 10 wherein said VCID is allocated
tifying a VLAN ID that is to be added to outgoing packets.              from a range of 4,096-65.535, both numbers inclusive.
   15. The system of claim 14 wherein said means for trans         55      24. The method of claim 1 further comprising changing the
mitting said traffic out said physical port in said stacked             particular LSP that is utilized by the dynamic MPLS tunnel in
VLAN tunnel includes means for encapsulating said traffic               response to traffic conditions.
with a header that includes said VLAN ID.                                  25. The system of claim 10 wherein the particular LSP that
  16. The system of claim 15 wherein said VLAN ID and said              is utilized by the dynamic MPLS tunnel is changed in
header that includes said VLAN ID conform to the IEEE
                                                                   60   response to traffic conditions.
802.1Q standard.                                                                                k   k   k   k    k
